Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 1 of 15 Page ID #2215




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

VICTORIA GREEN, as Administrator of          )
the Estate of Craigory Green,                )
                                             )
               Plaintiff,                    )
                                             )
               v.                            )         No. 20 C 0463
                                             )
STEVE MEEKS, et al.,                         )         Hon. Stephen P. McGlynn
                                             )
       Defendants.                           )

  PLAINTIFF’S RESPONSE IN OPPOSITION TO THE WEXFORD DEFENDANTS’
  MOTION FOR EXTENSION OF TIME, MOTION FOR RECONSIDERATION, AND
                 MOTION FOR LEAVE TO SUPPLEMENT

       Plaintiff Victoria Green, through her counsel at Kaplan & Grady LLC, respectfully submits

the following consolidated response in opposition to the Wexford Defendants’ flurry of motions

and attachments filed in the wake of the Court’s discovery Order (Dkt. 212): Motion for Extension

of Time (Dkt. 214), Motion for Reconsideration (Dkt. 215), Motion for Leave to File Supplemental

Motion to Reconsider Court’s Order (Dkt. 216), and Corrected Exhibit A (Joe Ebbitt Affidavit) to

the Motion for Leave (Dkt. 217), stating as follows:

                                      INTRODUCTION

       In the evening on the day its production was due, and without conferring with Plaintiff, the

Wexford Defendants (“Wexford”) moved the Court for an extension of time to comply with the

Court’s discovery Order (Dkt. 214) and for reconsideration of a portion of the Order (Dkt. 215).

See Order at Dkt. 212. As Plaintiff was preparing to file her response to Wexford’s first two

motions, Wexford filed another motion: a 9-page Motion for Leave to File Supplement Motion to

Reconsider Court’s Order (Dkt. 215) and a Corrected Exhibit A to the Motion (Dkt. 217).

Wexford’s Motions are vexatious and an affront to core principles of litigation and should be
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 2 of 15 Page ID #2216




denied in full. In addition, the Court should order Wexford to pay Plaintiff its reasonable attorney’s

fees as a sanction for its failure to respect the Court’s detailed Order and the significant burden it

has imposed on Plaintiff through its legally and factually unsupported efforts to persuade the Court

to give it a do-over.

                                           ARGUMENT

I.        Wexford’s Motion for Reconsideration and Motion for Leave to Supplement are
          improper and vexatious and should be denied.

          At least one thing is evident from Wexford’s Motions for Reconsideration and for Leave

to Supplement: the documents that Wexford is fighting to keep from Plaintiff are relevant,

substantive, and factual discussions by among senior Wexford officials of facts bearing on

Wexford’s provision of (and failures to provide) healthcare to prisoners. These are the kinds of

actually useful documents that Wexford consistently tries to avoid producing by erecting hurdle

after hurdle to routine discovery. And that is exactly what we see in Wexford’s Motion for

Reconsideration and for Leave to Supplement. Wexford’s Motions are frivolous and should be

denied.

          Through its Motions on reconsideration, Wexford seeks to narrow the Court’s ruling,

accusing the Court of committing an error of “apprehension” of its privilege argument. Under the

narrow and well-established rules governing such motions, there is absolutely no basis for the

Court to reconsider its detailed 22-page discovery Order. See, e.g., Caisse Nationale de Credit

Agricole v. CBI Indus., Inc., 90 F.3d 1264, 1269 (7th Cir. 1996) (“Reconsideration is not an

appropriate forum for rehashing previously rejected arguments or arguing matters that could have

been heard during the pendency of the previous motion.”); Reynolds v. Ahmed, No. 21-cv-00345-

SPM, 2021 WL 3772369, at *1 (S.D. Ill. Aug. 25, 2021) (“While motions to reconsider are

permitted, they are disfavored, serving a limited function: to correct manifest errors of law or fact

                                                  2
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 3 of 15 Page ID #2217




or to present newly discovered evidence.”) (internal quotations omitted); Hellige v. Wal-Mart, Inc.,

No. 20-cv-455-DWD, 2020 WL 6149817, at *2 (S.D. Ill. Oct. 20, 2020) (“A motion for

reconsideration is not an appropriate vehicle for raising new arguments or theories that could have

and should have been raised before the Court's challenged ruling.”).

       Wexford’s argument for reconsideration turns the standard for withholding documents

based on any privilege upside down, arguing that Plaintiff failed to adequately pick apart

Wexford’s assertions of privilege. That is not how it works. The Court explained: “[a]s with the

privilege asserted under the IMSA, it is on Wexford to establish that the work product privilege

applies to … emails forwarding analysis done on behalf of Wexford to prepare to respond to expert

report in the class action lawsuit Lippert . . . . .” Dkt. 212 at 8 (emphasis added). Plaintiff herself

explained this burden in her first motion to compel. Dkt. 173 at 4 (citing In re Grand Jury

Proceedings, 220 F.3d 568, 571 (7th Cir. 2000)). Wexford therefore knew that it was required to

prove, both as a factual and legal matter, that a privilege shielded the documents it had withheld

from production, and it had every reason to assert all legitimate arguments and evidence to satisfy

that burden. As is evident from the Court’s framing of the issue, and contrary to Wexford’s

assertions in its Motion, the Court fully appreciated and “apprehended” the types of documents at

issue. The Court simply concluded that, as with the Illinois Medical Studies Act (“IMSA”),

Wexford failed to meet its burden for withholding those documents. Dkt. 212 at 8.

       In particular, the Court observed that “Wexford does not address the specific documents at

issue in the privilege log or explain how the documents could have been generated specifically for

the peer-review process and are protected under IMSA, while simultaneously prepared in

anticipation of litigation, and therefore, also protected by work product privilege.” Id. Wexford

attempts to begin to do this in its Motion for Reconsideration and Motion for Leave, but that ship



                                                  3
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 4 of 15 Page ID #2218




has sailed. It has long since waived or forfeited these arguments. See, e.g., McGreal v. Vill. of

Orland Park, 928 F.3d 556, 559 (7th Cir. 2019); Baker v. Lindgren, 856 F.3d 498, 503 (7th Cir.

2017) (“The district court correctly noted that arguments raised for the first time in a motion to

reconsider are waived”); In re Outboard Marine Corp., 386 F.3d 824, 828 (7th Cir. 2004)

(arguments waived if raised for the first time in a motion for reconsideration); Art Akiane LLC v.

Art & SoulWorks LLC, No. 19 C 2952, 2021 WL 5163288, at *4 (N.D. Ill. Nov. 5, 2021)

(“Arguments that a party fails to raise, or raises without development and citation to pertinent

authority are, of course, waived or forfeited.”). Even now, in making privilege arguments, Wexford

presented the Court with nothing more than the say-so of its counsel in this case. Until the Motion

for Leave, there was no affidavit about how these documents were created and why, and so even

with Wexford’s Motion for Reconsideration, there is nothing for the Court to consider. Wexford

is also asking the Court to “reconsider” its rulings on attorney-client privilege where it never even

asserted that privilege “due to an oversight.” Dkt. 215 at 14. Wexford’s Motion for Leave attempts

to correct some of the shortcomings of its Motion for Reconsideration, but the proposed additions

fall far short. An outrageously self-serving affidavit from Joe Ebbitt, a non-lawyer in Wexford’s

Risk Management Department, does not help. If anything, the Court would need to hear from

Andrew Ramage, the lawyer who was allegedly directing the medical peer-review activities that

Wexford once told this Court were privileged under IMSA, and the senior Wexford officials that

provided the substantive input.

       It is remarkable that Wexford is suggesting that it is Plaintiff who failed to adequately

address privilege, when the entirety of Wexford’s privilege argument in opposition to Plaintiff’s

motion to compel is contained in the following paragraph:




                                                 4
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 5 of 15 Page ID #2219




Dkt. 186 at 12. Plaintiff engaged with the arguments Wexford presented, which focused almost

exclusively on IMSA. That was a strategic decision by Wexford, and one Wexford made despite

being informed by Plaintiff’s counsel in this case and others that IMSA does not apply in

circumstances such as these. There is simply no basis for the do-over that Wexford is asking for.

Enough is enough.

II.    Even if the Court were to reach the merits of Wexford’s Motion to Reconsider, which
       it should not, Wexford’s arguments fail.

       In its response to Plaintiff’s second motion to compel, Wexford reported to the Court that

the Lippert documents should be protected under IMSA because “[t]he privilege as invoked by the

Wexford Defendants supports the purpose for which [IMSA] was created by the Illinois

Legislature—encouraging peer review for medical practitioners.” Id. (emphasis added). Wexford

again represented to the Court that these documents were created as part of a peer review function:

“Plaintiff has not provided support for an argument that the state interest in encouraging peer

review for medical practitioners should be overruled ….” Id. (emphasis added). In other words,

when responding to Plaintiff’s motion to compel, Wexford made representations to this very Court

that the Lippert emails set forth in their privilege log were privileged under IMSA because they


                                                5
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 6 of 15 Page ID #2220




showed Wexford using the Lippert report to improve care. Now that the Court has ruled that

IMSA does not apply to this case, Wexford tells the Court that these earlier statements were false:

“The purpose of these documents was to aid in litigation and anticipation of litigation only and for

no other purpose.” Dkt. 215 (emphasis added). Thus, through its request for a do-over, Wexford

is making the shocking representation to the Court and Plaintiff that its earlier invocation of IMSA

was in bad faith because, really, these communications were never made as part of any peer-review

function (the sole purview of IMSA) and were instead exclusively about defending against claims

made against a different entity (the IDOC). See, e.g., 735 ILCS 5/8-2101 (protecting information

“used in the course of internal quality control or of medical study for the purpose of reducing

morbidity or mortality, or for improving patient care”) (emphasis added); Webb v. Mount Sinai

Hosp. & Med. Ctr. of Chi., 807 N.E.2d 1026, 1033-34 (Ill. App. Ct. 2004) (IMSA covers only

documents generated as part of a peer-review committee “engaged in the peer-review process” and

does not protect documents created “for the purpose of rendering legal opinions or to weigh

potential liability risk” (emphasis added)); see also Frigo v. Silver Cross Hosp. & Med. Ctr., 876

N.E.2d 697, 718 (Ill. App. Ct. 2007) (same). 1

        This Court should reject Wexford’s untimely about-face. This Court appropriately decided

Plaintiff’s motions to compel based on Wexford’s factual representations that these

communications were made as part of a peer-review process (and not for a litigation purpose). See

Dkt. 212 at 8. The Court decided that the IMSA privilege did not apply in this federal case. This

Court should not permit Wexford, having lost the first trial balloon, to raise another one and see


1
  As Wexford notes in its Motion for Reconsideration, Plaintiff had previously pointed out to Wexford and
the Court that the IMSA privilege and the work-product doctrine are mutually exclusive. Dkt. 173 at 9; Dkt.
184 at 12; see also Dkt. 212 at 8. Wexford argues there was nothing wrong with invoking “alternative
bases” for privilege, Dkt. 215 at 13, but Wexford’s invocation of these privileges is not based on alternative
legal arguments but rather alternative facts—factual assertions that directly contradict one another—that
Wexford has presented to the Court at different times to suit its goal of avoiding its discovery obligations.
                                                      6
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 7 of 15 Page ID #2221




whether it will fly better than the first—particularly when permitting it to do so would be

tantamount to condoning Wexford’s serial misrepresentations to the Court about the nature of its

documents and its intent in creating them. See, e.g., Art Akiane, 2021 WL 5163288, at *1 (“Motion

practice is not a series of trial balloons where you [submit] what you think is sufficient, [you] see

how it flies, and if it does not, you go back and try again. If that is the way the system worked we

would have motion practice going on forever.” (quoting Hansel ‘N Gretel Brand, Inc. v. Savitsky,

1997 WL 698179, at *2 (S.D.N.Y. 1997))).

        Even by their own terms, Wexford’s Motion for Reconsideration and proposed supplement

are insufficient to establish the privileges it now asserts. Wexford’s Motion contains absolutely no

evidentiary support for its many factual assertions, and the proposed supplement provides only a

declaration from Wexford’s Director of Risk Management that the communications (many of

which did not include him) are privileged based on an “agreement between IDOC and Wexford

that such communications would be . . . not discoverable[.]” Dkt. 217 ¶ 16. 2 Of course, saying that

a company created documents with an understanding that it would never produce them does not

make them privileged. See Slaven v. Great Am. Ins. Co., 83 F. Supp. 3d 789, 794 (N.D. Ill. 2015).

        Even if Wexford’s assertion of a joint defense agreement with the IDOC is credited (and

for many reasons, this late assertion should not be credited),3 the common interest doctrine does



2
  Notably, neither the IDOC nor the IDOC Defendants have ever sought to protect these documents from
production in this case. See generally Dkt. 185 (IDOC Defs.’ Resp. to Pl.’s Mot. to Compel) (including no
response to Plaintiff’s request to compel production of the emails contained in Wexford’s privilege log).
3
  Among other reasons set out in this pleading, there is good reason to believe that Wexford and the IDOC
did not then and do not now have the “identical—not merely similar—legal interest” with regard to the
Lippert litigation that assertion of the common interest doctrine requires. McCullough v. Fraternal Order
of Police, Chi. Lodge 7, 304 F.R.D. 232, 239 (N.D. Ill. 2014). Among other things, Wexford was not a
defendant in the Lippert lawsuit at the time the emails at issue occurred, and it is reasonable to expect that
its interests differed substantially, both as a factual and legal matter, from the interests of the IDOC (who
was a litigant). Certainly Wexford, who bears the responsibility to prove the existence of the common
interest, has offered nothing other than a conclusory statement by Ebbitt that there was an unwritten joint
defense agreement.
                                                      7
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 8 of 15 Page ID #2222




not create any privilege at all. In re Grand Jury Subpoenas, 89-3 & 89-4, 902 F.2d 244, 249 (4th

Cir. 1990). Instead, the common interest doctrine serves only to protect otherwise privileged

documents from disclosure by virtue of the fact that they have been shared with a third party who

shares a common interest (a fact that would normally otherwise break the privilege). United States

v. BDO Seidman, LLP, 492 F.3d 806, 816 (7th Cir. 2007). Moreover, the common interest doctrine

only protects documents and communications “with the attorney of the member of the community

of interest” and not non-counsel members like Louis Shicker (the IDOC’s Chief of Medical

Services), who appears on various emails throughout Wexford’s privilege log. McCullough, 304

F.R.D. at 239.

        If the Court is inclined to consider or credit Ebbitt’s declaration (produced to Plaintiff only

when it was filed as a corrected exhibit to Wexford’s Motion to Supplement), it must be subjected

to adversarial discovery. Indeed, if Wexford is permitted to advance brand new arguments and

evidence regarding these documents made only after this Court ordered them produced based on

Wexford’s failure to support its assertions of privilege (which it should not), this Court should

address those arguments only after an evidentiary hearing where Ebbitt, Ramage, and various other

participants in the emails are called to testify. 4




4
  Courts in this Circuit hold evidentiary hearings to assess claims of privilege where factual findings and
credibility determinations are, as they would be here, essential to the Court’s ruling. See, e.g., Hobley v.
Burge, No. 03 C 3678, 2004 WL 1687005, at *1 (N.D. Ill. July 26, 2004) (“Although JD provided an
affidavit describing the maintenance of its documents relating to its representation of the City in the Burge
proceedings, Judge Brown also determined that an evidentiary hearing was needed before she could rule
on JD’s assertion of work product protection.”); see also Fujitsu Ltd. v. Tellabs, Inc., No. 09 C 4530, 2013
WL 1405223, at *2 (N.D. Ill. Apr. 5, 2013) (rejecting an assertion of the attorney-client privilege based on
evidence elicited during an evidentiary hearing on the matter); Zepter v. Dragisic, 237 F.R.D. 185, 187
(N.D. Ill. 2006) (setting an evidentiary hearing to determine whether an accountant-client privilege applied
to certain information sought by the plaintiff).



                                                      8
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 9 of 15 Page ID #2223




       Plaintiff believes such an evidentiary hearing would undercut the assertions made by

Wexford in its motions and by Ebbitt in his declaration. For example, although Wexford now

claims it reviewed and assessed the 2014 Lippert report, including review of mortality reviews,

only for the purpose of defending against anticipated litigation (and for no other purpose), one of

the main participants in the emails at issue testified differently at a recent trial. Stephen Ritz,

Wexford’s Corporate Director for Utilization Management, testified that the Lippert report raised

“serious concerns that Wexford took seriously.” Dean v. Wexford Health Sources, Inc., 18 F.4th

214, 227-28 (7th Cir. 2021) (cleaned up). Dr. Ritz also testified that he did not review the Lippert

report in detail but had been made aware by the IDOC that “there were concerns that were raised

in these reports; yes.” Id. at 253 (Wood, J., dissenting). Dr. Ritz should be made to explain how

Wexford could credibly contend that its review of and response to the Lippert report was solely

for the purpose of litigation if, as he testified, Wexford took the concerns set out in the report

seriously, as a matter of improving its care for prisoners.

       The myriad of issues pointed out above serves only to underscore what Plaintiff has set out

in Section I: parties have a responsibility to meet their burden before a court decides an issue, and

not raise new arguments and positions that could have been advanced before only after losing. If

this Court entertains the substance of the new arguments set out in Wexford’s Motion for

Reconsideration and Motion to Supplement, it will only serve as encouragement for Wexford to

further obstruct discovery in this and other cases, knowing that it can offer only the most paltry of

excuses at first because it will get a second bite at the apple if the Court appropriately holds it to

its burden.




                                                  9
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 10 of 15 Page ID #2224




        Wexford’s motions on reconsideration should be denied. Without further delay, Wexford

 must produce the documents the Court has already ordered produced as well as any other similarly

 responsive documents that it is withholding based on the same rejected assertions of privilege.

 III.   Wexford’s Motion for Extension of Time should be denied along with Wexford’s
        narrowing construction of the Court’s Order.

        Reading Wexford’s Motion for Extension of Time, one might have the impression that

 Wexford has made substantial progress on its required productions and only needs a bit more time

 to identify and produce a subset of the documents that the Court has ordered Wexford to produce.

 In reality, Wexford produced just 484 pages. Ninety-six percent of those pages are versions of

 policy manuals, which should require almost no effort from Wexford to identify and produce. The

 overwhelming majority of Wexford’s production obligation remains outstanding.

        Plaintiff is extremely concerned that the Wexford Defendants are taking an implausibly

 narrow view of the Court’s Order, one not supported by the Order itself or the document requests

 that underlie the Order. For example, Wexford indicates that it is in the process of compiling all

 “complaints in lawsuits against the individual Wexford defendants.” Dkt. 214 at 2 (emphasis

 added). The problem is that the Court’s Order regarding “complaints” is far broader than

 “complaints in lawsuits.” For example, Request No. 13 asks for “Complaints” by prisoners

 alleging denial of hepatic or transplant procedures. “Complaint” is defined in Plaintiff’s requests

 to include “any complaint or criticism relating to the job performance of any Defendant …

 regardless of the disposition” and is in no way limited to lawsuits, which Plaintiff can, with some

 effort, find on Pacer. Request No. 31, also subject to the Court’s Order, requires a range of other

 types of complaints. Wexford is well aware of the scope of Plaintiff’s requests for production. In

 fact, taking issue with the scope of Plaintiff’s requests was central to Wexford’s response to the

 motions to compel. Dkt. 186 at 7-8.

                                                 10
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 11 of 15 Page ID #2225




        Accordingly, Plaintiff believes it necessary to summarize what is required by the Court’s

 discovery Order, with reference to the underlying requests, as the Court did:

       Requests regarding “Complaints.” For all complaint-related requests, “Complaint” is
        defined to include “any complaint or criticism relating to the job performance of any
        Defendant . . . regardless of the disposition of any resulting inquiry or investigation.”

            o   Request No. 13: All Documents relating to Complaints by prisoners alleging denial
                of either hepatic procedures and/or organ transplant procedures by the IDOC and/or
                Wexford since January 1, 2011.

            o   Request No. 31: Complaints at Menard since January 1, 2011 regarding:

                   a. Inadequate medical care or denial of medical care;

                   b. Refusal or failure to arrange for evaluation or treatment by an outside
                      healthcare provider;

                   c. Refusal or failure to diagnose a serious medical condition;

                   d. Refusal or failure to provide or facilitate evaluation for a transplant; and

                   e. Refusal or failure to coordinate the medical care of a Menard prisoner.

       Death Documents.

            o   Request No. 15: All Documents since January 1, 2011 relating to the deaths of any
                prisoner who died after the IDOC or Wexford declined, refused, or delayed an
                organ transplant.

            o   Request No. 32: All Documents since January 1, 2010 relating to deaths of
                prisoners from liver disease where Wexford is contractually responsible for
                providing medical care. This request includes medical records, death investigations,
                and related correspondence. Wexford operates in at least ten states, and this request
                is not limited to Wexford’s operations in Illinois.

            o   Request No. 33: All Documents relating to deaths of Menard prisoners between
                January 1, 2010 and the present, excluding deaths caused by homicide.

       Requests for Care by an Outside Healthcare Provider.

            o   Request No. 34: All Documents related to requests by Wexford or any of its
                employees or agents for evaluation, consultation, or treatment of prisoners for
                transplant procedures by an outside healthcare provider. This includes referral
                requests, collegial review, and similar processes.



                                                 11
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 12 of 15 Page ID #2226




         Documents listed in rows 6-18 of Wexford’s privilege log. Wexford has resisted
          producing these documents for the reasons in its Motion for Reconsideration, which
          Plaintiff has addressed above. Dkt. 215.

         Wexford Policy Manuals. Wexford’s Utilization Management Policies/Guidelines;
          Wexford’s Provider Handbook; Wexford’s Quality Management Program. It appears that
          these documents have been produced.

          Wexford fought to avoid this discovery and failed, though it did manage to delay its

 response to Plaintiff’s requests by a year. Wexford must comply with the Court’s Order, and not a

 self-servingly, unreasonably narrow interpretation of that Order, and it must do so now. Based on

 its extension request, however, it appears that Wexford has gone to great lengths to oppose

 Plaintiff’s requested discovery without having first investigated the responsive documents that

 Plaintiff requested. It is hard to understand how Wexford could have undertaken a good-faith

 investigation of Plaintiff’s allegations without at least locating and reviewing a portion of the

 documents requested, although that seems to be the troubling reality.

          Plaintiff has been stymied by Wexford’s tactics in discovery, which include forcing

 Plaintiff to pursue it endlessly and to move to compel nearly every document that is not part of the

 defined set of materials that Wexford is comfortable producing, i.e., endless pages of unusable

 PDF versions of Excel spreadsheets that pad Wexford’s productions by transforming every single-

 page Excel into a several-hundred page document, while imposing hurdles like “relevance”

 redactions, objections under inapplicable privileges, and the like.

          Due to Wexford’s pattern of obstruction and delay, Plaintiff is now once again forced to

 brief issues that should have been resolved among the parties months or even a year ago and have

 been conclusively resolved by the Court’s Order. The Court should order Wexford to immediately

 produce documents sufficient to demonstrate a good-faith effort at compliance with the Court’s

 Order.



                                                  12
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 13 of 15 Page ID #2227




 IV.     Wexford should pay Plaintiff’s reasonable attorney’s fees incurred in responding to
         Wexford’s factually and legally unsupported filings.

         Rule 37(b)(2) provides that when a party fails to obey an order to provide discovery, the

 Court “must order the disobedient party . . . to pay the reasonable expenses, including attorney’s

 fees, caused by the failure” unless the failure was substantially justified or other circumstances

 make the award unjust. Fed. R. Civ. 37(b)(2) (emphasis added).

         Wexford’s conduct is not a matter of negligence in litigation. Litigation is difficult, and

 mistakes happen. Here, however, Wexford argued to Plaintiff and then to the Court that documents

 addressing Lippert were privileged because Wexford used the criticisms of its and the IDOC’s

 conduct to improve care. It has now, a year later and after an adverse ruling, turned around to argue

 that its Lippert-related documents were generated for the sole purpose of protecting itself and the

 IDOC from liability, and at the direction of counsel. That 180-degree reversal demonstrates bad

 faith, either in its prior arguments that frustrated the progress of this case for at least a year or in

 the untimely and non-cognizable arguments and factual representations it is making now.

         Wexford made zero effort to confer with Plaintiff on a path forward in response to the

 Court’s discovery Order. Instead, it filed more than 50 pages of legally unsupported motions,

 briefing, and exhibits that has forced Plaintiff to sift through the mess Wexford filed and to respond

 in writing to adequately protect her interests. Though counsel for Plaintiff is filing this response

 promptly due to their upcoming obligations in other cases, Plaintiff’s counsel has been forced to

 devote several days of work to review Wexford’s submissions and production, and to research and

 draft an appropriate response. This work has occupied Plaintiff’s counsel for more than fifteen

 hours between Thursday, February 16 and Sunday, February 19. If the Court grants Plaintiff’s

 request for fees, Plaintiff is prepared to promptly submit a detailed fee petition along with

 declarations demonstrating her counsel’s billing rate.

                                                   13
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 14 of 15 Page ID #2228




         Plaintiff does not make this request for fees lightly. Plaintiff also harbors no ill-will toward

 counsel for Wexford, who we believe is acting here at Wexford’s command. Wexford itself (and

 certainly not Plaintiff) should be forced to bear the costs of its bad-faith conduct in this case. If it

 is not forced to do so, and no matter the verbal reprimands, Wexford will continue to litigate as if

 it were subject to different rules than all other federal litigants. We ask the Court to impose real

 financial costs on Wexford to help disabuse it of that misapprehension.

                                            CONCLUSION

         For the foregoing reasons, as well as those set out in Plaintiff’s briefing on its motions to

 compel (Dkts. 173 and 184) and the Court’s discovery Order (Dkt. 212), all of Wexford’s Motions

 should be denied. Further, Plaintiff should be awarded her reasonable fees incurred in responding

 to Wexford’s Motions.




                                                                 Respectfully submitted,

                                                                 /s/ Howard Kaplan
                                                                 Howard Kaplan
                                                                 Attorney for Plaintiff




 Howard Kaplan
 Sarah Grady
 KAPLAN & GRADY LLC
 1953 N. Clybourn Ave., Suite 274
 Chicago, IL 60614
 (312) 852-2641
 howard@kaplangrady.com
 sarah@kaplangrady.com




                                                   14
Case 3:20-cv-00463-SPM Document 218 Filed 02/20/23 Page 15 of 15 Page ID #2229




                                 CERTIFICATE OF SERVICE

          I, Howard Kaplan, an attorney, certify that on February 20, 2023, I caused the foregoing
 to be filed using the Court’s CM/ECF system, which effected service on all counsel of record.




                                                      /s/ Howard Kaplan
                                                      Howard Kaplan
                                                      Attorney for Plaintiff
